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            U N I T E D S TAT E S D I S T R I C T C O U RT
         FOR THE SOUTHERN DISTRICT OF TEXAS
                      HOUSTON DIVISION


 Richard Lowery, on behalf of himself             Civil Action No.
 and others similarly situated,                   4:22-cv-3091

                        Plaintiff,
                                                  Judge Charles Eskridge
 v.

 Texas A&M University System, et al.,

                        Defendants.


        PLAINTIFF’S ADDITIONAL NOTICE TO THE COURT
      Last week, Mark A. Welsh III became Acting President of Texas A&M Univer-

sity upon the resignation of former president Katherine Banks. Welsh has also re-

placed Banks as a named defendant in this litigation. See Fed. R. Civ. P. 25(d).

      On July 26, 2023, Acting President Welsh e-mailed the Texas A&M community

and offered a ringing endorsement of the university’s diversity-related practices:

        Texas A&M has been in the news lately, and not for the reasons we
        would like. But recent events and the accompanying commentary do
        not define us as an institution, nor do they undo the great work we see
        across this university every day. They should, however, remind us that
        living up to our core values is an ongoing commitment, as even es-
        teemed institutions like ours must consistently confront and resolve
        challenges to uphold our status as a great university. Just to be clear on
        where I stand, I believe diversity in all its forms is a strength.
Exhibit 1. Welsh’s e-mail does not acknowledge SB 17 or Students for Fair Admissions,

and it does not even indicate an awareness that using race or sex preferences to pro-

mote diversity is illegal under state and federal law. Instead, it implies that diversity is




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a “core value” of the university, and offers not even the slightest suggestion that uni-

versity intends to change its ways in response to SB 17 or Students for Fair Admissions.

    The burden is on the defendants to show that Mr. Lowery’s claims for prospec-

tive relief are moot,1 and the defendants have yet to produce any evidence showing
how they will respond to the enactment of SB 17 and the ruling in Students for Fair

Admissions. The Court cannot assume that the defendants will halt the use of race

and sex preferences in the absence of evidence showing their intent to do so. Yester-

day’s e-mail from Acting President Welsh should not inspire confidence that the new

regime has any intention of rooting out the discriminatory hiring practices that have

become entrenched at Texas A&M University.

                                  CONCLUSION
    The motion to dismiss for lack of justiciability should be denied.

                                            Respectfully submitted.

                                             /s/ Jonathan F. Mitchell
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 Dated: July 27, 2023                       the Proposed Class


1. See Friends of the Earth, Inc. v. Laidlaw Environmental Services (TOC), Inc.,
   528 U.S. 167, 190 (2000); Franciscan Alliance, Inc. v. Becerra, 47 F.4th 368,
   376 (5th Cir. 2022).


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                         CERTIFICATE OF SERVICE
    I certify that on July 27, 2023, I served this document through CM/ECF upon:

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